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                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                   ORDER
                             Plaintiff,
                                                                   01-cr-9-bbc
              v.

STERLING DANIELS,

                             Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       In an order entered on February 9, 2012, I denied defendant Sterling Daniels’s

motion under 18 U.S.C. § 3582. Defendant has filed a notice of appeal, without submitting

the $455 fee for filing his notice of appeal that is required if he is to take an appeal from the

denial of a § 3582 motion. Therefore, I construe defendant’s notice as including a request

for leave to proceed in forma pauperis on appeal under 28 U.S.C. § 1915.

       According to 28 U.S.C. § 1915(a), a defendant who is found eligible for court-

appointed counsel in the district court proceedings may proceed on appeal in forma pauperis

without further authorization “unless the district court shall certify that the appeal is not

taken in good faith or shall find that the party is otherwise not entitled so to proceed.”

Defendant had court-appointed counsel during the criminal proceedings against him.


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Therefore, he can proceed in forma pauperis on appeal unless I find that his appeal is taken

in bad faith. In this case a reasonable person could not suppose that the appeal has some

merit, as is required in order for the appeal to be taken in good faith. As I explained in the

February 9, 2012 order, defendant is not eligible for a sentence reduction under § 3582

because the retroactive amendment to the cocaine base guideline does not reduce the offense

level for crimes involving 8.4 kilograms or more of cocaine base. Because defendant’s

relevant conduct was at least 30 kilograms, his base offense level remains at 38 and he does

not benefit from the applicable amendment. Because defendant is not eligible for a

reduction, I will deny his request to proceed in forma pauperis on appeal.

       Under Fed. R. App. P. 24, defendant has 30 days from the date of this order in which

to ask the court of appeals to review this court’s denial of leave to proceed in forma pauperis

on appeal. His motion must be accompanied by (1) an affidavit as described in the first

paragraph of Fed. R. App. P. 24(a) and (2) a copy of this order.




                                           ORDER

       IT IS ORDERED that defendant Sterling Daniels’s request for leave to proceed in

forma pauperis on appeal is DENIED. I certify that defendant’s appeal is not taken in good




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faith. Defendant has the right to appeal this order certifying his appeal as not taken in good

faith.


         Entered this 22d day of February, 2012.

                                           BY THE COURT:

                                           /s/
                                           BARBARA B. CRABB
                                           District Judge




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